[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: DEFENDANT'S MOTION FOR CONTEMPT (#264) RE: DEFENDANT'S MOTION FOR CONTEMPT (#262)
Evidence was taken on the defendant's two motions for contempt concurrently with the evidence presented on the defendant's motion for modification of custody (#234) which was heard on several days between July 16, 2002 and August 2, 2002. CT Page 10169
In each motion the defendant has failed to prove a wilful violation.
Each motion (#264 and #262) is denied.
So Ordered.
NOVACK, J.T.R.